Case 1:17-cv-00263-GJQ-PJG ECF No. 47 filed 05/08/18 PageID.1043 Page 1 of 7



                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION
                              __________________________


DAWN M. BACHI-REFFITT,

               Plaintiff,

v.                                                            Case No. 1:17-CV-263

KEVIN REFFITT, RONALD                                         HON. GORDON J. QUIST
REFFITT, SR., KAREN WIERENGA,
and PENCON, INC.,

            Defendants.
_______________________________/


                     ORDER DENYING PLAINTIFF’S MOTION
                    FOR RECONSIDERATION AND AMENDING
                 DECEMBER 4, 2017, ORDER TO DISMISS STATE-LAW
                        CLAIMS WITHOUT PREJUDICE

       On December 4, 2017, the Court entered an Opinion and Order granting Defendants’ Motion

to Dismiss Plaintiff’s complaint, which alleged various claims, including violations of the Racketeer

Influenced and Corrupt Organizations Act (RICO), arising out of a divorce proceeding between

Plaintiff and Defendant, Kevin Reffitt. In particular, Plaintiff alleged that Kevin defrauded her by

failing to disclose that he received far less than fair value in a sale of his stock in his family

construction business to his father, Defendant Ronald Reffitt, Sr. Plaintiff alleged that Kevin and

his father executed the transaction about a week or so after Kevin initiated the divorce proceeding,

but backdated the transfer documents to a date two days before Kevin filed for divorce.

       First, the Court concluded that dismissal was proper because Plaintiff’s claims were based

on Kevin’s alleged intrinsic fraud in the divorce proceeding, and Michigan law precludes an

independent action based on intrinsic fraud. (ECF No. 33 at PageID.631–633.) The Court found
Case 1:17-cv-00263-GJQ-PJG ECF No. 47 filed 05/08/18 PageID.1044 Page 2 of 7


Plaintiff’s interpretation of the Consent Judgment as authorizing a lawsuit or proceeding in a court

other than the family court to be unreasonable. Rather, the Court concluded that paragraph 25 of

the Consent Judgment was limited to authorizing the state family court determine whether a party

to the divorce proceeding concealed assets during that proceeding, and provided a remedy for any

such concealment. (Id. at PageID.634–35.) Second, the Court concluded that Plaintiff’s RICO

claims were barred by the doctrine of res judicata and the release in the Consent Judgment. (Id. at

PageID.636–37.) Finally, the Court concluded that Plaintiff lacked RICO standing. (Id. at

PageID.637–39.)

       The Court also granted Defendants’ motion for Rule 11 sanctions. Although the Court cited

several reasons for imposing sanctions, it imposed sanctions for the principal reason that—Plaintiff’s

claims clearly being based on Kevin’s discovery fraud in the divorce proceeding—the proper

remedy under Michigan law was to file a motion for relief from judgment in the family court, not

a new lawsuit in federal court, and Plaintiff’s reliance on the Consent Judgment as authority to do

so was unreasonable.

       Plaintiff has filed a motion for reconsideration of the December 4, 2017, Order, solely with

regard to the Court’s decision to award Defendants Rule 11 sanctions.              A party seeking

reconsideration “bears a heavy burden” under this district’s local rule governing such motions.

Goldman v. Healthcare Mgmt. Sys., Inc., No. 1:05-CV-35, 2008 WL 2559030, at *1 (W.D. Mich.

June 19, 2008) (citing Wrench LLC v. Taco Bell Corp., 36 F. Supp. 2d 787, 789 (W.D. Mich. 1988)).

Western District of Michigan Local Rule 7.4(a) provides that “motions for reconsideration which

merely present the same issues ruled upon by the Court shall not be granted.”                Further,

reconsideration is appropriate only when the movant “demonstrate[s] a palpable defect by which the

Court and the parties have been misled . . . [and] that a different disposition must result from a


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Case 1:17-cv-00263-GJQ-PJG ECF No. 47 filed 05/08/18 PageID.1045 Page 3 of 7


correction thereof.” LCivR 7.4(a). “[A] motion for reconsideration is not properly used as a vehicle

to re-hash old arguments or to advance positions that could have been argued earlier but were not.”

Smith ex rel. Smith v. Mount Pleasant Pub. Schs., 298 F. Supp. 2d 636, 637 (E.D. Mich. 2003)

(citing Sault Ste. Marie Tribe of Chippewa Indians v. Engler, 146 F.3d 367, 374 (6th Cir. 1998)).

“A party seeking reconsideration must show more than a disagreement with the Court’s decision,

and ‘recapitulation of the cases and arguments considered by the court before rendering its original

decision fails to carry the moving party’s burden.” Dantz v. Apple Am. Grp., LLC, No. 5:04CV0060,

2006 WL 2850459, at *1 (N.D. Ohio Sept. 29, 2006) (internal quotation marks omitted).

        Plaintiff first argues that the Court mistakenly observed that the case was not ordinary

because, in part, it involved a high level of animosity between counsel. Plaintiff argues that this

observation was incorrect because “there is no animosity between the attorneys and law firms in this

case, and neither side has alleged it.” (ECF No. No. 38 at PageID.668.) That may be true, insofar

as it concerns defense counsel and Plaintiff’s counsel from the Mantese Honigman firm. However,

while the Court did not identify attorneys by name, there is no question that such animosity exists

at least between Kevin and attorney Kent Gerberding, who appears as Plaintiff’s counsel on the

pleadings in this case, represented Plaintiff in the related divorce proceedings regarding the Pruco

Insurance policy, and was the subject of an attorney grievance that Kevin filed with the Attorney

Grievance Commission. Moreover, attorney Gerberding referred the instant case to the Mantese

Honigman law firm after Kevin grieved Gerberding. (ECF No. 38-2 at PageID.693.) In any event,

animosity between counsel was not the basis for the imposition of sanctions.1 (ECF No. 33 at

PageID.642.)



        1
         Although Plaintiff claims that there is no animosity between counsel in the present case, in the Court’s
judgment, the parties’ briefs paint a different picture.

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Case 1:17-cv-00263-GJQ-PJG ECF No. 47 filed 05/08/18 PageID.1046 Page 4 of 7


        Next, Plaintiff devotes a substantial portion of her brief to revisiting the Court’s analysis on

the merits. As noted above, a motion for reconsideration is not a proper basis to rehash arguments

that have previously been rejected. See Thomas v. Schroer, No. 2:13-CV-2987, 2016 WL 3648974,

at *3 (W.D. Tenn. Mar. 30, 2016) (“If Plaintiff wishes to reargue this issue, an appeal, not a motion

for reconsideration, is the appropriate recourse.”). While the Court understands that Plaintiff

addresses the merits only to show that her claims were not frivolous, the Court finds no palpable

defect in its analysis of the merits. Therefore, the Court declines to revisit its rulings.

        Next, Plaintiff argues that Rule 11 sanctions are inappropriate in this case because the Court

dismissed the case at the Rule 12 stage, before the record could be fully developed through

discovery. Plaintiff further argues that it was reasonable for her to argue that the Consent Judgment

applied only to Kevin and thus did not preclude a separate fraud/RICO action against the other

Defendants, who were not parties to the Consent Judgment. Relatedly, Plaintiff argues that an award

of Rule 11 sanctions in this case will chill lawyers’ vigorous advocacy and creative arguments.

(ECF No. 38 at PageID.686–87.) Finally, Plaintiff argues that the Court should have heard oral

argument before imposing sanctions. (Id. at PageID.687–88.)

        Plaintiff’s Rule 11 arguments lack merit. First, in its December 4, 2017, Opinion, the Court

expressly considered the Sixth Circuit’s admonition that district courts “‘should be hesitant to

determine that a party’s complaint is in violation of Rule 11(b) when the suit is dismissed pursuant

to Rule 12(b)(6) and there is nothing before the court, save the bare allegations of the complaint.’”

(ECF No. 33 at PageID.33 (quoting Tafhs v. Proctor, 316 F.3d 584, 594 (6th Cir. 2003)). But, as

is evident from that Opinion, the Court did not grant Defendants’ motion to dismiss on the basis that




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Case 1:17-cv-00263-GJQ-PJG ECF No. 47 filed 05/08/18 PageID.1047 Page 5 of 7


Plaintiff’s RICO allegations failed to state a claim.2 Dismissal was granted because Michigan law

and the Consent Judgment precluded Plaintiff from filing this case in this Court. No discovery was

needed to establish the basis for this conclusion, as the Court had before it everything needed to

determine that Plaintiff had no good faith basis to file this case: (1) Plaintiff alleged in the instant

case that Kevin deprived her of her share of the true market value of his Peninsula stock; (2) in the

divorce proceeding, Kevin disclosed that he sold his Peninsula stock to his father and the amount

he received for his stock3; (3) Plaintiff and Kevin litigated the value of the stock during the divorce

proceeding, and Plaintiff had ample opportunity to conduct discovery regarding the value of the

stock; (4) Michigan law precludes an independent action based on intrinsic fraud—which is what

Plaintiff alleges here; and (5) the Consent Judgment does not authorize an independent action based

on discovery fraud and does not except intrinsic fraud claims from its broad release.

         Second, as for Plaintiff’s argument that she was entitled to bring her claims against three

Defendants who were not parties to the divorce proceeding and Consent Judgment, in the Court’s

judgment, those parties—Ronald Reffitt, Sr., Karen Wierenga, and Pencon, Inc. (Peninsula)—were

simply window dressing for Plaintiff’s true claim that Kevin committed fraud in the divorce

proceeding by making false discovery responses about the true value of his Peninsula stock.

         2
           While the Court had no need to reach Defendants’ arguments concerning Plaintiff’s failure to properly plead
the elements of her RICO claims, it would have dismissed Plaintiff’s RICO claims on one or more of the grounds
Defendants cited in their brief. For example, Plaintiff failed to allege a “pattern” of racketeering for purposes of RICO.
See H.J. Inc. v. Nw. Bell Tel. Co., 492 U.S. 229, 109 S. Ct. 2893 (1989). Kevin’s alleged one-off attempt to hide assets
from Plaintiff during the divorce proceeding did not constitute a closed-ended period of repeated conduct extending over
a substantial period of time, Vild v. Vosconsi, 956 F.2d 560, 569 (6th Cir. 1992), and Plaintiff’s reliance on the 2007
divorce of Kevin’s now-deceased brother—an unrelated proceeding separated by at least four years and involving
different participants and alleged victims—falls short of establishing RICO’s relatedness and continuity requirements.
H.J. Inc., 492 U.S. at 240–41, 109 S. Ct. at 2901–02. Moreover, Plaintiff failed to allege that Ronald Reffitt, Jr. or
anyone else committed a predicate criminal act of mail and/or wire fraud during the 2007 divorce proceeding. Plaintiff’s
attempted use of RICO in this case was not unique, and it certainly was not proper. See Rosner v. Rosner, 766 F. Supp.
2d 422, 426 (E.D.N.Y. 2011) (“The plaintiff is not the first person involved in a matrimonial case to attempt to bring
a RICO claim against a spouse for allegedly hiding marital assets. The courts that have previously addressed this type
of allegation have almost universally found such claims to be a misuse of the RICO statute.”).
         3
         Plaintiff’s allegation that “Defendants . . . failed to disclose, concealed or attempted to secret or conceal the
Stock from Dawn,” (ECF No. 1 at pageID.23) is itself frivolous.

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Case 1:17-cv-00263-GJQ-PJG ECF No. 47 filed 05/08/18 PageID.1048 Page 6 of 7


Plaintiff did not allege that Pencon, Inc. or Wierenga, whose sole act was notarizing the back-dated

stock transfer documents, played any part in directing the enterprise’s affairs, see Reves v. Ernst &

Young, 507 U.S. 170, 179, 113 S. Ct. 1163, 1170 (1993), and Plaintiff failed to allege that Reffitt,

Sr., Wierenga, or Pencon, Inc. committed at least two predicate acts. See Kerrigan v. ViSalus, Inc.,

112 F. Supp. 3d 580, 605 (E.D. Mich. 2015).

         Third, despite Plaintiff’s warning of dire consequences to the adversarial process, the Court

doubts that imposition of Rule 11 sanctions in this case will chill advocacy, particularly in those

cases advocating for “the rights of the weak, abused, or powerless.”4 (ECF No. 38 at PageID.687.)

The Court is confident that an award of sanctions in this case will not have the disastrous

consequences Plaintiff predicts.

         Finally, Plaintiff’s argument that the Court should have afforded Plaintiff oral argument

before imposing sanctions is without merit. Plaintiff did not request oral argument on the motion,

although she could have done so. W.D. Mich. LCivR 7.2(d), 7.3(d). Thus, Plaintiff waived oral

argument and, in any event, a “court need not hold a hearing before imposing sanctions under Rule

11.” Haisha v. Countrywide Bank, FSB, No. 11-11276, 2011 WL 3268104, at *1 n.2 (E.D. Mich.

July 29, 2011) (citing Wrenn v. Vanderbilt Univ. Hosp., Nos. 94-5453, 94-5593, 1995 WL 111480,

at * (6th Cir. Mar. 15, 1995) (“There is normally no right to a separate sanctions hearing where . .

. the district judge imposing the sanctions has participated in the proceedings, the party is being

sanctioned for filing frivolous claims, and the party being sanctioned had both notice of his potential

exposure to sanctions and an opportunity to respond.”)).




         4
          The Court fails to see the connection between the instant case and the cases Plaintiff cites—Brown v. Board
of Education, 347 U.S. 483, 74 S. Ct. 686 (1954), and Gideon v. Wainwright, 372 U.S. 335, 83 S. Ct 792 (1963)—as
examples of the types of cases this Court’s award of Rule 11 sanctions might discourage.

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Case 1:17-cv-00263-GJQ-PJG ECF No. 47 filed 05/08/18 PageID.1049 Page 7 of 7


       Finally, on a separate issue, the Court notes that its December 4, 2017, Order did not address

the disposition of the state-law claims. Because the federal RICO claims were dismissed at the

initial stage, the Court, in its discretion under 28 U.S.C. § 1367(c)(3), declines to exercise

supplemental jurisdiction over the state-law claims and will dismiss them without prejudice.

       Therefore,

       IT IS HEREBY ORDERED that Plaintiff’s Motion for Reconsideration (ECF No. 38) is

DENIED.

       IT IS FURTHER ORDERED that the December 4, 2017, Order (ECF No. 34) is

AMENDED to provide that Plaintiff’s state law claims are DISMISSED WITHOUT

PREJUDICE pursuant to 28 U.S.C. § 1367(c)(3).



Dated: May 8, 2018                                          /s/ Gordon J. Quist
                                                           GORDON J. QUIST
                                                      UNITED STATES DISTRICT JUDGE




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